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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERNDIVISION

UNITED STATES OF AMERICA
                                                   No. 10 CR 608
                 v.
                                                   Judge Samuel Der-Yeghiayan
FRANCISCO ARROYO, et al.

                      PROTECTIVE ORDER GOVERNING DISCOVERY

       Upon the motion of the government, pursuant to Fed. R. Crim. P. 16(d), it is hereby

ORDERED:

       1.        All of the materials provided by the United States in preparation for, or in

connection with, any stage of the proceedings in this case (collectively, "the materials") are

subject to this protective order and may be used by defendants and defendants’ counsel

(defined as counsel of record in this case) solely in connection with the defense of this case,

and for no other purpose, and in connection with no other proceeding, without further order

of this Court.

       2.        Defendants and defendants’ counsel shall not disclose the materials or their

contents directly or indirectly to any person or entity other than persons employed to assist

in the defense, persons who are interviewed as potential witnesses, counsel for potential

witnesses, and other persons to whom the Court may authorize disclosure (collectively,

“authorized persons”). Potential witnesses and their counsel may be shown copies of the

materials as necessary to prepare the defense, but may not retain copies without prior

permission of the Court.

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       3.     Certain materials disclosed or to be disclosed by the government contain

particularly sensitive information, including the names, identities, criminal histories and other

sensitive information of one or more persons other than the defendant to whom the

information is disclosed. These materials shall be plainly marked as sensitive by the

government prior to disclosure. No such materials, or the information contained therein, may

be disclosed to any persons other than defendants, counsel for defendants, persons employed

to assist the defense, or the person to whom the sensitive information solely and directly

pertains, without prior notice to the government and authorization from the Court. Absent

prior permission from the Court, information marked as sensitive shall not be included in any

public filing with the Court, and instead shall be submitted under seal (except in the case of

a defendant who chooses to include in a public document sensitive information relating

solely and directly to the defendant making the filing).

       4.     Defendants, defendants’ counsel, and authorized persons shall not copy or

reproduce the materials except in order to provide copies of the materials for use in

connection with this case by defendants, defendants’ counsel, and authorized persons. Such

copies and reproductions shall be treated in the same manner as the original materials.

       5.     Defendants, defendants’ counsel, and authorized persons shall not disclose any

notes or records of any kind that they make in relation to the contents of the materials, other

than to authorized persons, and all such notes or records are to be treated in the same manner

as the original materials.

       6.     Before providing materials to an authorized person, defense counsel must

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provide the authorized person with a copy of this Order.

       7.     Upon conclusion of all stages of this case, all of the materials and all copies

made thereof shall be destroyed or returned to the United States, unless otherwise ordered

by the Court. The Court may require a certification as to the disposition of any such

materials.

       8.     To the extent any material is produced by the United States to defendants or

defendants’ counsel by mistake, the United States shall have the right to request the return

of the material and shall do so in writing. Within five days of the receipt of such a request,

defendants and/or defendants’ counsel shall return all such material if in hard copy, and in

the case of electronic materials, shall certify in writing that all copies of the specified

material have been deleted from any location in which the material was stored.

       9.     The restrictions set forth in this Order do not apply to documents that are or

become part of the public court record, including documents that have been received in

evidence at other trials, nor do the restrictions in this Order limit defense counsel in the use

of discovery materials in judicial proceedings in this case, except that any document filed by

any party which attaches or otherwise discloses specially identified sensitive information as

described in Paragraph 3, above, shall be filed under seal to the extent necessary to protect

such information, absent prior permission from this Court.




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       10.    Nothing contained in this Order shall preclude any party from applying to this

Court for further relief or for modification of any provision hereof.




                                           ENTER:

                                           _______________________________
                                           SAMUEL DER-YEGHIAYAN
                                           District Judge
                                           United States District Court
                                           Northern District of Illinois

Date: November 17, 2011




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